                                            United States District Court
                                            Eastern District of California




Pinnacle Employee Services, Inc., et al.
                                                            Case Number: 2:22-cv-01367-CKD
 Plaintiff(s)

 V.
                                                            APPLICATION FOR PRO HAC VICE
Pinnacle Holding Company, LLC                               AND PROPOSED ORDER

 Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
James P. Youngs                                   hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Defendant Pinnacle Holding Company, LLC

On       02/21/2008        (date), I was admitted to practice and presently in good standing in the
Appellate Division NY Supreme Court 4th Dep(court). A certificate of good standing from that court is

submitted in conjunction with this application. I have not been disbarred or formally censured by a court of
record or by a state bar association; and there are not disciplinary proceedings against me.


   I have / ✔ I have not concurrently or within the year preceding this application made a pro hac vice
application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and
whether granted or denied.)




Date:           10/19/2022                         Signature of Applicant: /s/ James P. Youngs



        U.S. District Court – Pro Hac Vice Application                                                 Page 1
        Revised July 6, 2021
Pro Hac Vice Attorney

Applicant's Name:                 James P. Youngs

Law Firm Name:                    Hancock Estabrook LLP

Address:                          1800 AXA Tower I
                                  100 Madison Street

City:                             Syracuse                       State:       NY   Zip: 13202
Phone Number w/Area Code: (315) 565-4558
City and State of Residence: Cazenovia, New York
                                   jyoungs@hancocklaw.com
Primary E-mail Address:
Secondary E-mail Address:          edisanto@hancocklaw.com


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name:             Corey A. Donaldson

Law Firm Name:                    Ferguson Case Orr Paterson LLP

Address:                          1050 South Kimball Road



City:                             Ventura                        State:       CA   Zip:     93004

Phone Number w/Area Code: (805) 659-6800                                  Bar #    280383




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.




               Dated:
                                                            JUDGE, U.S. DISTRICT COURT



        U.S. District Court – Pro Hac Vice Application                                          Page 2
        Revised July 6, 2021
           Appellate Division of the Supreme Court
                    of the State of New York
                  Fourth Judicial Department


     I, Ann Dillon Flynn, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Fourth Judicial
Department, do hereby certify that

                    James Patrick Youngs
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on February 21,
2008, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the
Administration Office of the Courts, and according to the records
of this Court is currently in good standing as an Attorney and
Counselor-at-Law.



                          In Witness Whereof, I have hereunto set
                          my hand in the City of Rochester on
                          October 19, 2022.




                               Clerk of the Court


CertID-00087920
                                NEW YORK STATE SUPREME COURT
                            APPELLATE DIVISION, FOURTH DEPARTMENT
                               M. DOLORES DENMAN COURTHOUSE
                                    50 EAST AVENUE, SUITE 200
                                   ROCHESTER, NEW YORK 14604
ANN DILLON FLYNN                  (585) 530-3100 Fax (585) 530-3247                      ALAN L. ROSS
 CLERK OF THE COURT                                                                  DEPUTY CLERK OF THE COURT




    To Whom It May Concern


          An attorney admitted to practice by this Court may request a certificate of
    good standing, which is the only official document this Court issues certifying to an
    attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history
    may be viewed through the attorney search feature on the website of the Unified
    Court System.


              New York State does not register attorneys as active or inactive.


          An attorney may request a disciplinary history letter from the Attorney
    Grievance Committee of the Fourth Judicial Department.


          Bar examination history is available from the New York State Board of Law
    Examiners.


              Instructions, forms and links are available on this Court's website.




                                                        Ann Dillon Flynn
                                                        Clerk of the Court




    Revised September 2021
                                      www.courts.state.ny.us/ad4
